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                            UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
                                          (609) 989-2040
          CHAMBERS OF                                                         U.S. COURTHOUSE
                                                                              402 E. STATE STREET, RM 6052
TONIANNE J. BONGIOVANNI                                                       TRENTON, NJ 08608
UNITED STATES MAGISTRATE JUDGE



                                        February 10, 2020

                                       LETTER ORDER


        Re:    Edouard v. City of Long Branch, et al.
               Civil Action No. 17-3582 (PGS)

        Dear Counsel and Mr. Edouard:

        The Court has reviewed your recent letters regarding the sufficiency of the discovery

produced by Defendants. The Court has broad discretion in deciding discovery issues such as

that raised by Plaintiff. See United States v. Washington, 869 F.3d 193, 220 (3d Cir. 2017) (noting

that “[a]s we have often said, matters of docket control and discovery are committed to [the] broad

discretion of the district court”); Halsey v. Pfeiffer, Civil Action No. 09-1138, 2010 WL 3735702,

at *1 (D.N.J. Sept. 17, 2010) (noting that “[d]istrict courts provide magistrate judges with

particularly broad discretion in resolving discovery disputes”); Gerald Chamles Corp. v. Oki Data

Americas, Inc., Civ. No. 07-1947 (JEI), 2007 WL 4789040, at *1 (D.N.J. Dec. 11, 2007) (stating

that it is “well-settled that Magistrate Judges have broad discretion to manage their docket and to

decide discovery issues[.]”)

        The Court exercised this discretion when it addressed Plaintiff’s deficiency claims on the

record during an in-person conference held on November 19, 2019. During same, the Court made

rulings regarding what discovery it would require Defendants to produce. Despite, Plaintiff’s
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complaints about the information produced, it appears that Defendants fully complied with the

Court’s directives. Indeed, even though the Court only required Defendants to produce work

product for the assessments of 4 units in the Waterview Condominium Complex in Long Branch,

after Plaintiff insisted that more information was necessary, Defendants voluntarily agreed to

produce work product for the assessments of all 55 units in the Waterview Condominium

Complex.    Defendants also have sought information from their insurance adjuster, and are

awaiting the adjuster’s response, after Plaintiff requested Defendants’ insurance information.

        The Court finds that Defendants have met the discovery obligations set forth in the Court’s

rulings made during the November 11, 2019 conference. Plaintiff fails to explain how any of the

information now sought falls within the scope of discovery set forth in the Court’s rulings. To

the extent the information Plaintiff seeks is a public record, Plaintiff is not precluded from filing

an OPRA request for same. However, the Court shall not require Defendants to produce any

additional information in discovery outside of the response they receive from their insurance

adjuster. Depositions are to commence. Fact discovery is to be completed by April 30, 2020.

The parties are directed to submit a status update regarding discovery no later than March 18,

2020.


               IT IS SO ORDERED.

                                                          s/ Tonianne J. Bongiovanni
                                                      TONIANNE J. BONGIOVANNI
                                                      United States Magistrate Judge
